Case 1:18-cv-05622-PKC. Document 5.

Filed 06/27/18

- Page 1 of 1
AQ 120 (Rev. 08/10)
ro: - Mail Stop 8 - REPORT ON THE ~
* -. Director of the U.S. Patent and Trademark Office _ FILING OR DETERMINATION OF AN
P.O. Box:1450 ACTION REGARDING A PATENT OR
Alexandria, VA:22313-1450 : TRADEMARK
In Compliance with.35 U.S.C. § 290 and/or 15 U.S.C. § 1116 you are hereby advised that a court action has been
filed in the U.S. District Court SOUTHERN DISTRICT OF NEW YORK on the following
WTrademarks.or .[] Patents. ( [1 the patent action involves 35 U.S.C. §.292.):
|DOCKETNO. DATE FILED _ U.S. DISTRICT COURT
1:18-CV- 05622 - 6/21/2018 ‘SOUTHERN DISTRICT OF NEW YORK.
PLAINTIFF DEFENDANT
HUMANE CONSUMER LLC COB ECOMMERCE EMPIRE LLC
PATENT OR DATE OF PATENT ~ ET
TRADEMARK NO. OR TRADEMARK HOLDER OF PATENT OR ‘TRADEMARK
1 86869319 8/9/2016 COB ECOMMERCE EMPIRE LLC
. 2. 86474980 . 6/8/2015 HUMANE CONSUMER LLC
3
4 .
5
Ly : In the above—entitled case, the following patent(s) trademark(s) have been included:
DATE INCLUDED INCLUDED BY
1 Amigndinent ... 2] Answer (2) Cross Bill . C] Other Pleading
PATENT OR DATE OF PATENT : ‘
TRADEMARK NO. OR TRADEMARK HOLDER OF PATENT OR TRADEMARK:
1
2
3
4
5
. In the above—entitled case, the following decision has been ‘rendered or judgement issued:
DECISION/JUDGEMENT
[CLERK (BY) DEPUTY CLERK DATE

Copy 1—Upon initiation of action, mail this copy to Director

Copy 2—Upon filing document adding patent(s), mail this copy to Director

Copy 4—Case file copy

Copy.3—Upon termination of action, mail this copy to Diréctor

